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             10

             11                            UNITED STATES DISTRICT COURT
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                                          CENTRAL DISTRICT OF CALIFORNIA
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lXO-UN            WPP LUXEMBOURG GAMMA                      Case No. CV 09-2487 DMG (PLAx)
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                  THRE SARL, on its own behalf and
~ t! :¡           derivatively on behalf of SPOT            VERIFIED SECOND AMENDED
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   N ..           RUNR, INC.,                               COMPLAINT FOR SECURITIES
                                                            FRAUD, COMMON LAW FRAUD,
             17
                                     Plaintiff,             BREACH OF FIDUCIARY DUTY,
             18                                             AIDING AND ABETTING BREACH
                          v.                                OF FIDUCIARY DUTY, AND
             19
                                                            BREACH OF CONTRACT
             20   NICK GROUF, DAVID WAXMAN,
             21
                  DANN RIMER, ROGER LEE, (Filed with leave of Court)
                  ROBERT PITTMAN, BATTERY
             22   VENTURS VI, L.P., BATTERY
             23
                  INVESTMENT PARTNRS VI, LLC,
                  BATTERY VENTURS VII, L.P.,
             24   BATTERY INVESTMENT DEMAND FOR JURY TRIAL
             25   PARTNRS VII, LLC, INDEX
                  VENTURS III (JERSEY) L.P., INDEX
             26   VENTURS III (DELAWARE) L.P.,
             27   INEX VENTURS III PARLLEL
                  ENTREPRENEUR FUN (JERSEY)
             28   L.P.,


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                       1


                    2                          Defendants,

                   3                   and
                   4
                            SPOT RUNR, INC.,
                   5

                   6                           Nominal Defendant.

                   7

                   8 Plaintiff WPP Luxembourg Gamma Three SarI ("WPP" or "Plaintiff') on its own

                   9 behalf and derivatively on behalf of Spot Runner Inc. (the "Company" or "Spot
                  10 Runner"), by its attorneys, Davis & Gilbert LLP and Venable LLP, for its Second
                  11 Amended Complaint (the "Complaint") against defendants Nick Grouf ("Grouf'),
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~ ~ g 12                   David Waxman ("Waxman") (Grouf and Waxman together the "Founders"), Danny
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., ~ ~ 0          13
~ w 0 ai                   Rimer ("Rimer"), Roger Lee ("Lee"), Robert Pittman ("Pittman") (Grouf, Waxman,
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             ~    14
lXO-U",                    Rimer, Lee and Pittman together the "Directors"), Battery Ventures VI, L.P., Battery
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                           Investment Parters VI, LLC, Battery Ventures VII, L.P., Battery Investment Parters
t;~~ 16
     N ..              VII, LLC (the Battery entities together "Battery"), Index Ventures III (Jersey) L.P.,
                  17 Index Ventures III (Delaware) L.P., Index Ventures III Parallel Entrepreneur Fund
                  18 (Jersey) L.P. (the Index entities together "Index") (all defendants collectively
                  19 "Defendants"), alleges as follows:
                  20 NATURE OF THE ACTION
              21 1. This action arises from WPP's investment in a privately held start-up

              22 media company, Spot Runner. Defendants are the Founders and other venture capitalist
              23 insiders of Spot Runner. The Founders of the Company, Defendants Grouf and

              24 Waxman, convinced WPP to invest in Spot Runer based on representations that the
              25 Founders were going to develop this start-up operation into a successful and profitable
              26 venture.
              27 2. As Spot Runner was a private start-up company that did not yet have a

              28 revenue stream, private investment capital was the lifeblood of the Company. Taking
                                                                     2

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                 1 advantage of opportnities to raise capital was thus essential to the Company's
                2 viability.
                3 3. For purposes ofWPP's investment, of critical importance to WPP was the

                4 fact that the Founders had personal stakes in Spot Runner so their interests and

                5 incentives were aligned with the success of                           the Company. Therefore, in the context of
                6 this privately held, venture-capital-fuded start-up operation, information about the

                7 Founders of the Company sellng off their own stock, and thus reducing their own
                8 personal stake and investment risk in the Company, was of paramount importance to

                9 WPP. Indeed, it was among the most important pieces of information about the
              10 Company.
       11 4. WPP protected its investment with contractual arrangements that would
  0..
~ ~ ~ 12 provide WPP with information about any sales of stock by the Founders in secondary
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., ~ ~ 0 13 markets.
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lX Q. U C' 5. There were two principal contractual arrangements pertinent to this issue.
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~ ~ ~ ~ 15 First, WPP entered into the Second Amended and Restated Rights of First Refusal and
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t; ~ g 16 Co-Sale Agreement (the "ROFR and Co-Sale Agreement"), which provided, among

              17 other things, that before selling any shares of                            their Spot Runner stock, the Founders
              18 were obligated to provide written notice to the Company's investors, including WPP.
              19 Another key provision in that Agreement provided that the Company was to be given a
              20 right of first refusal with respect to any such sales of stock by the Founders.
              21 6. Second, WPP entered into a Board Observer Rights Agreement, which

              22 provided that WPP would have a representative observe Spot Runner Board meetings
              23 and receive the information provided to the Board of                              Directors. Due to the Company's
              24 right of first refusal provided for by the above-mentioned ROFR and Co-Sale
              25 Agreement, the Board Observer Rights Agreement gave WPP a second means of

              26 receiving notice of any attempted stock sales by the Founders, since any decision to
              27 exercise or waive the Company's rights of                             first refusal with respect to such Founder
              28 share sales would have to be discussed at Board meetings in the regular course of
                                                                                        3


                                                                        VERIFIED SECOND AMENDED COMPLAINT
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                  1 business.

                  2 7. This case is about Defendants' elaborate scheme to line their own pockets

                  3 by secretly sellng off                        tens of       millons of dollars of             their own Spot Runer shares, thus
                  4 diverting needed capital from the Company and usurping corporate opportnities to

                  5 raise capital that the Company needed. In order to promote Spot Runner stock so they
                  6 could sell their own shares for profit at ever-increasing valuations, the Defendants
                  7 needed WPP as an investor both for WPP's financial support and its international
                  8 reputation in the media industry. Therefore, as an integral part of                                                   Defendants'
                  9 fraudulent scheme, the Defendants committed repeated intentional acts of concealment
                10 and material omissions, all designed to circumvent the above-mentioned contractual
                11 arrangements and to mislead WPP into believing that the Founders were not selling
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     g 12 their stock.
., i. ~
~ ~ ~ ~ 13 8. As a result of                                                Defendants' fraudulent conduct, WPP remained in the dark
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; ~ ~ ~ 14 about the fact that the Founders, ofienjoined by other insider Defendants acting in
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           '"
Z ~ ~ ~ 15 concert with them, were in fact secretly sellng off milions of dollars of their own Spot
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t; ~ g 16 Runner shares, significantly reducing their own personal stakes in the Company and

                17 diverting needed investment capital away from the Company coffers. The Defendants

                18 benefited from this scheme by participating in the Founders' stock sales, thus enriching
                19 themselves at the expense of WPP as well as the Company itself.
                20 9. As a result ofDefendants~ fraudulent conduct, WPP was induced into

                21 purchasing additional Spot Runner shares and it has lost the value of its investment as a
                22 direct result of Defendants' fraudulent conduct.
                23 10. The Defendants have violated their fiduciary duties to Spot Runner by

                24 diverting millions of dollars of needed investment capital away from the Company and
                25 into their own pockets. The Company has been damaged as a result.
                26 11. WPP brings this action individually on its own behalf and also as a
                27 derivative action within the meaning of                                         Rule 23.1 of    the Federal Rules of          Civil
                28 Procedure on behalf of Spot Runner to enforce the rights of the Company.
                                                                                                         4

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               1 12. With regard to the derivative claims, WPP has not made demand on the

               2 Company for the actions requested in the Complaint because demand would be futile.
               3 None of                the directors of   the Company are disinterested and independent because all
               4 have engaged in self-dealing in connection with this matter, as alleged below.
               5 13. This action brings claims for violation of Section 1 O(b) of the Securities

               6 Exchange Act of 1934 and Rule 10b-5 promulgated thereunder; common law fraud;
               7 breach of fiduciary duty to Spot Runner; aiding and abetting breach of fiduciary duty to
               8 Spot Runner; breach of fiduciary duty to WPP as minority stockholder; and breach of
               9 the Right of First Refusal and Co-Sale Agreement.

             10 THE PARTIES
             11 14. Plaintiff WPP is a Luxembourg corporation, which maintains its principal
    0..
~ ~ ~ 12 place of                       business at Rue Heine, 6, L1720 Luxembourg, Luxembourg. WPP is a
., i. ~
., ~ ~ g 13 subsidiary of WPP PIc, a global communications agency with partner companies
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lX ~ ~ ~ 14 specializing in all areas of communications, including advertising, direct marketing, and
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Z ~ ~ ~ 15 public relations. WPP PIc's direct and indirect subsidiaries and partner companies
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t; ~ g 16 together constitute the largest media buyer in the world.


              17 15. Spot Runner is a Delaware corporation which maintains its principal place

              18 of        business at 6300 Wilshire Boulevard, 21st Floor, Los Angeles, CA 90048. Spot
              19 Runner is a start-up media buying corporation which was purportedly developing an
             20 innovative internet platform (called Project Malibu) to allow small businesses to
             21 purchase cable and broadcast TV advertising services online.
             22 16. Upon information and belief, Defendant Nick Grouf is a resident of
             23 California. Groufis a founder of                          Spot Runner, its current Chief                   Executive Officer
             24 (CEO) and Chairman of                      the Board of          Directors. Groufwas CEO and Chairman of                       the
             25 Board of Directors at all times relevant to this action.
              26 17. Upon information and belief, Defendant David Waxman is a resident of

              27 California. Waxman is a founder of                            Spot Runner. Waxman was Spot Runner's Chief
              28
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               1 Technology Officer (CTO) and a member of                                          its Board of   Directors at all times relevant
              2 to this action.
               3 18. Upon information and belief, Defendant Danny Rimer is a resident of the

              4 United Kingdom and a General Partner of Index. Rimer is a member of Spot Runner's
               5 Board of              Directors. Rimer was a director of                          the Company at all times relevant to this
               6 action.

               7 19. Upon information and belief, Defendant Roger Lee is a resident of

               8 California and a General Partner of                            Battery. Lee is a member of               Spot   Runner's Board
               9 of Directors. Lee was a director of the Company at all times relevant to this action.
             10 20. Upon information and belief, Defendant Robert Pittman is a resident of
             11 New York. Pittman was a member of Spot Runner's Board of Directors at all times
 0..
~~  g 12 relevant to this action.
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";~~o13                           21. Upon information and belief, Defendant Battery Ventures VI, L.P. is a
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lXQ.UN                limited partnership with its principal place of                               business at 2884 Sand Hil Road, Suite
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                      101, Menlo Park, CA 94025.
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t; ~ g 16 22. Upon information and belief, Defendant Battery Investment Partners VI,

             17 LLC, is a Delaware corporation with its principal place of business at 2884 Sand Hil
             18 Road, Suite 101, Menlo Park, CA 94025.

             19 23. Upon information and belief, Defendant Battery Ventures VII, L.P. is a
             20 partnership with its principal place of business at 2884 Sand Hill Road, Suite 101,
             21 Menlo Park, CA 94025.

             22 24. Upon information and belief, Defendant Battery Investment Partners VII,
             23 LLC is a Delaware corporation with its principal place of business at 2884 Sand Hil
             24 Road, Suite 101, Menlo Park, CA 94025.

             25 25. Upon information and belief, Defendant Index Ventures III (Jersey) L.P. is
             26 a partnership with its principal place of                              business at NO.1 Seaton Place, St. Helier,
             27 Jersey JE4 8Y J, Channel Islands, England.
             28 26. Upon information and belief, Defendant Index Ventures III (Delaware)
                                                                                               6


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                  1 L.P. is a limited partnership with its principal place of                              business at NO.1 Seaton Place,
                 2 St. Helier, Jersey JE4 8Y J, Channel Islands, England.

                 3 27. Upon information and belief, Defendant Index Ventures III Parallel
                 4 Entrepreneur Fund (Jersey) L.P. is a limited partnership with its principal place of
                                                          i


                 5 business at NO.1 Seaton Place, St. Helier, Jersey JE4 8Y J, Channel Islands, England.
                 6 DEFENDANTS' CO-CONSPIRATOR
                 7 28. Defendants' co-conspirator was Peter Huie ("Huie").

                 8 29. Upon information and belief, Huie is a resident of California. Huie is
                 9 General Counsel to Spot Runner. Huie was General Counsel to the Company at all

                10 times relevant to this action.
                11                                                          JURISDICTION AND VENUE
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  ~ mg 12                           30. This Court has jurisdiction under the securities laws of                         the United States,
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";~~o13                  15 § U.S.C. 78aa, and under the Judicial Code of                              the United States, 28 U.S.C. § 1331.
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lXQ.UN                  This Court has supplemental jurisdiction over WPP's state law claims under 28 U.S.C.
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Z ~ ~ - 15 § 1367(a).
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t; ~ g 16 31. Venue is appropriate in the Central District of
                                                                                                                California under 28 U.S.C.
                17 §§ 1391(b) and 1401 because a substantial part of                                   the events and omissions giving rise
                18 to the claims occured there, and because the May 2007 Stock Purchase Agreement
                19 fixes the federal or state courts of the County of Los Angeles, California as the venue
              20 for lawsuits arising out of                                the Agreement, and under 15 U.S.C. § 78aa because some of
              21 the Defendants are found in and/or transact business in this District.
              22 32. This individual and derivative action is not a collusive one to confer
              23 jurisdiction on a Court of the United States which it would not otherwise have.
              24 FACTS COMMON TO ALL CLAIMS
              25 33. Spot Runner was founded in 2004 by Adam Shaw ("Shaw"), Grouf and

              26 Waxman. It is a "start-up" company which was reliant, at all relevant times, on
              27 investments of venture capital funds to meet its operating and development expenses,
              28 and has yet to make a profit from the sale of products or services.
                                                                                                   7


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                  1 34. Spot Runner's purported main product, which was stil in development,

                 2 was an internet media-buying platform called Project Malibu, which it promoted as an
                 3 innovative way for small businesses to purchase cable and broadcast TV advertising
                 4 services online. Upon information and belief, Project Malibu was never completed, and

                 5 was ultimately sold off for a nominal amount.
                 6 35. Upon information and belief, before seeking any private financing of                                             the
                 7 Company, Grouf, Waxman and Shaw awarded themselves approximately 31 milion,
                 8 3.5 milion and 435,000 shares of                                    the Company, respectively, with little or no
                 9 investment of cash.

               10 36. Battery and Index are the holders of Series A and Series B preferred stock

               11 of Spot Runer, having acquired approximately 14.8 millon and 14.7 milion shares
  0..
~ ~ ~ 12 respectively in early 2006 for a cash investment of approximately $6 milion each.
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~ ~ ~ ~ 13 37. Battery and Index's ownership of Series A and B preferred stock make
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; ~ ~ ~ 14 them the majority preferred stockholders in the Company. When acting together, they,
~ ~ if~
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~ ~ ~ ~ 15 as a group, hold the majority of                                        the voting shares in the Company.
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t; ~ g 16 38. Pursuant to Battery and Index's investment in the Company, Spot Runner

               17 agreed with Battery and Index that each would have the right to appoint one member of
               18 Spot Runner's Board of Directors.
               19 39. Index appointed Rimer, a General Partner of                                              Index, as its representative on
               20 Spot Runner's Board of Directors.
               21 40. Battery appointed Lee, a General Partner of                                             Battery, as its representative
               22 on Spot Runner's Board of                                Directors.
               23 41. At all relevant times, the Board of Directors of the Company (the "Board")

               24 consisted of                  five members: Grouf, Waxman, Rimer sitting as the Index representative,
               25 Lee sitting as the Battery representative, and Robert Pittman (the "Directors" or
               26 "Director Defendants").
               27 42. Upon information and belief, Waxman and Pittman have resigned from the

               28 Board subsequent to the filing of this action, such that the Board consists of Grouf,
                                                                                                8


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             1 Rimer and Lee as of the filing of this Second Amended Complaint.
            2 WPP's investment in Spot Runner
            3 43. In August 2006, Spot Runner sought additional capital and held another

            4 round of financing ("the Series C Financing Round"). WPP invested in Spot Runner in

            .5 this round on or around August 29,2006.

            6 44. . WPP purchased 2,710,027 shares of                                              Spot Runer Series C preferred stock
            7 at $3.69 per share for a total investment of                                   approximately $10 million. At the time, this
             8 investment gave WPP approximately 62 percent of the class of Series C preferred stock,
             9 or about 4 percent of the outstanding stock of Spot Runner on a fully diluted basis.
            10 45. WPP's August 2006 purchase of$10 Milion in Series C preferred stock

            11     made it the largest single investor in Spot Runner at the time.
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  N mg 1                       46. To protect its investment, WPP negotiated with Spot Runner for "Board
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  woo*  Observer Rights," in which WPP would have the opportnity to attend all of Spot
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.. ~., Õ           Runner's Board meetings and be provided any information that the Board members
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Z ~ ~ -15          received.
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t; ~00(j 16                    47. WPP and Spot Runner entered into a letter agreement (the "Board
   N -l

            17 Observer Rights Agreement") on or about August 29,2006.

            18                 48. The Board Observer Rights Agreement provides that:

            19                             The Company and WPP wil mutually agree (which
                                           agreement shall not be unreasonably withheld or delayed by
            20
                                           the Company) upon a WPP representative (the "Observer")
            21                             who shall be entitled to attend all meetings ofthe Company's
                                           Board of  Directors (the "Board") in a non-voting, observer
            22
                                           capacity.
            23

            24
                               49. It further provides that:
                                           The Company shall provide to the Observer, concurrently
            25
                                           with the members of  the Board, and in the same manner,
            26                             notice of each meeting of the Board and a copy of all
                                           materials provided to the members of  the Board....
            27
            28
                                                                                              9


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              1                 50. It further provides that:
             2                              WPP agrees that it wil hold in confidence all Confidential
                                            Information. . . of the Company provided to it or learned by it
             3
                                            in connection with its rights under this agreement and use
             4                              such information solely to assist in the strategic relationship
             5
                                            between the Company and WPP.

             6 51. As a condition to WPP's investment of$10 milion in Spot Runner, WPP

             7 along with the other holders of                                 the Series A, Series B and Series C preferred stock (the
             8 "Investors"), in August 2006, also entered into the Second Amended and Restated
             9 Rights of First Refusal and Co-Sale Agreement (the "ROFR and Co-Sale Agreement")
            10 with the Company and the Founders.
            11 52. The ROFR and Co-Sale Agreement provides that before any shares of Spot
   0..
~ ~ g 12            Runner common stock could be sold or otherwise transferred by a Founder, "the
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  woo*              Company shall have a right of                             first refusal (the 'Right of       First Refusal') to purchase
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lXQ.UN                                                                                                                            First Refusal").
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                     such shares (the 'Offered Securities')..." (§ 1.1) ("Company's Right of



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                                 53. The ROFR and Co-Sale Agreement further provides that if                                       the Company
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t; ~00(J 16          does not exercise its rights of first refusal, then each Investor (also defined in the
   N -l

            17 Agreement as it is herein to mean the "purchasers of                                          the Company's preferred stock")
            18                               shall have the right, upon notice to the Founder at any time
                                             within fort (40) days after receipt of  the Transfer Notice (the
            19
                                             "Purchase Right Period") to purchase its Pro Rata Share of all,
            20                               or such lesser amount as desired, of such Offered Securities
            21
                                             not purchased by the Company or Nick Grouf at the Offered
                                             Price and upon the same terms (or terms as similar as
            22                               reasonably possible) upon which the Founder is proposing or
            23
                                             is to dispose of such Offered Securities (the "Purchase
                                             Right"), and the Founder shall sell such Offered Securities to
            24                               the Investors pursuant to such terms.
            25
                                             (§ 1.7) ("Investors' Purchase Right")
            26
            27 54. The ROFR and Co-Sale Agreement also provides that if                                                        the right of   first
            28 refusal is not exercised, "each Investor.. .                                      shall have the right to participate in any sale to
                                                                                                      10


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               1 a Proposed Transferee upon the same terms and conditions as set forth in the Transfer
              2 Notice..." (§ 2.1, "Right to Participate")

              3 55. The ROFR and Co-Sale Agreement thus provides that each Investor could

              4 sell their shares in the Company pro-rata with any disposition of common stock by the

               5 Founders.

              6         56. The ROFR and Co-Sale Agreement provides that the Founders were
              7 required to notify the Company and the Investors of any potential sale of stock by the
               8 Founders. Specifically, the Agreement provides that
               9               Before the transfer of any Offered Securities, the Founder
                               shall deliver to the Company... and the Investors a written
              10
                               notice (the "Transfer Notice") stating: (i) the Founder's bona
              11               fide intention to sell or otherwise transfer such Offered
   0..                         Securities; (ii) the name of each proposed purchaser or other
~ ..
  ~ '"g 12
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                               transferee (a "Proposed Transferee"); (iii) the number of
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   woo                         Offered Securities to be transferred to each Proposed
~ ~!: ~
., .i ;; gi 14                 Transferee; and (iv) the bona fide cash price or other
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~ ~ if~                        consideration for which the Founder proposes to transfer the
   :: -l '"
Z ~ ~ ~ 15                     Offered Securities (the "Offered Price"). The Founder shall
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t;~cn
   00 16                       offer the Offered Securities at the Offered Price first to the
   C'..
                               Company, next to Nick Grouf(ifthe Founder is Adam Shaw
              17               or David Waxman and if Nick Grouf is then an employee of
                               the Company, the Chairman of                    Directors or a
                                                                        the Board of
              18
                               member of                  Directors) and finally to the
                                                    the Board of

              19               Investors.
              20
              21               (§ 1.2) ("Investors' Notice Rights") (emphasis added)
              22
                         57. The ROFR and Co-Sale Agreement further provides that the Agreement
              23
                   can only be amended or waived
              24
                               by written instrument signed by the pary against whom
              25               enforcement of any such amendment, waiver, or discharge or
              26
                               termination is sought,

              27 but then contains a proviso that
              28
                                                                       11


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               1                           the holders of sixty percent (60%) ofthe Shares held by the
                                           Investors voting together may waive, discharge, terminate,
               2
                                           modify or amend, on behalf of all Investors, any provisions
               3                           hereof....
               4
               5                           (§ 3.9) ("Amendments or Waivers")

               6
                               58. The ROFR and Co-Sale Agreement further provides that "(a)ny sale,
               7
                   assignment or other transfer of Offered Securities by a Founder contrary to the
               8
                   provisions of            this Agreement shall be null and void.. .unless and until the Founder has
               9
                   satisfied the requirements of                         this Agreement with respect to such sale". (§ 3.1, "Invalid
              10
                   Transfers") This provision further provides that
              11
   0..                                     The Founder shall provide the Company and each Investor
~ 'I
  ~ mg 12                                  with written evidence that such requirements have been met
., i. ~
";~~o13                                    or waived prior to consummating any sale, assignment or
~ ~ fZ ~                                   other transfer of Securities, and no Securities shall be
., .,a:;;-gi. 14
lXQ.UN                                     transferred on the books of the Company until such written
~ ~ if~
   :: -l '"                                evidence has been received by the Company and each
Z ~ ~ ~ 15
~ t! :¡                                    Investor.
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              17                           (§ 3.1) ("Invalid Transfers") (emphasis added).
              18
                               59. Thus, one of                    the principal "requirements" imposed by the Agreement on
              19
                   sales of stock by the Founders is the duty to provide notice of such stock sales to the
              20
                   Investors under § 1.2. If any waiver of that notice requirement were to occur pursuant
              21
                   to § 3.9, then § 3.1 imposes upon the Founders an obligation to provide the Investors
              22
                   with written notice of any such waiver.
              23
                               60. Read together, the ROFR and Co-Sale Agreement and the Board Observer
              24
                   Rights Agreement insured that WPP would have notice of any attempt by the Founders
              25
                   to reduce their interests, incentives or risks by sellng off                      their shares in the Company.
              26
                   The Defendants' Fraudulent Scheme
              27
                               61. From at least 2006, the Defendants operated the Company for their own
              28
                                                                                       12


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                 1 benefit instead of the best interests of the Company and its stockholders. They
                 2 participated in a "pump-and-dump" scheme in which they aggressively promoted the
                 3 Company to new investors and then sold new investors large quantities of their own
                 4 secondary shares at ever-increasing valuations. Such secondary sales were
                 5 accomplished surreptitiously and without the disclosures to Investors required by the
                 6 controllng Investor agreements or the securities laws.
                 7 62. The Defendants' sureptitious stock sales diverted tens of milions of

                 8 dollars away from the Company and into the pockets of                                     the individual Defendants at a
                 9 time when the Company was entirely reliant on private investment capital to survive,
               10 and when it was losing thirty to forty milion dollars per year and quickly dissipating
               11 the capital that had been raised.
    0..
~ ~.~ 12 63. An integral part of                             the Company's stock by the
                                                                                  the "pumping" of

., i. ~
., ~ ~ 0 13 Defendants, which allowed them to sell their own shares for handsome profits, was the
~ ~ ~ ~
    a: - ,
; ~ ~ ~ 14 Defendants' promotion of WPP as an investor in and supporter of the Company. On the
~ ~ if~
    :: -l '"
Z ~ ~ ~ 15 Company website and elsewhere, the Defendants advertised the investment and support
~ t! :¡
t; ~ g 16 of
                             "WPP", the Plaintiffs parent company, a world-renowned communications company
               17 and the largest media buyer in the world, to create the appearance of credibilty for this
               18 start-up operation.
               19 64. In the context of                                       this privately held, venture-capital-funded start-up
               20 operation, information about the Founders of the Company sellng off their own shares
               21 and reducing their personal stake and investment risk rather than investing in the long-
               22 term success of                    the Company, was a critically important piece of                 information to an
               23 investor such as WPP - among the most important pieces of information about the
               24 Company.
               25 65. Because Defendants relied on WPP's reputation in the industry and needed

               26 WPP's continued support, in order to promote the Company and sell their stock for
               27 profit at increasing valuations, it was vital to the Defendants' scheme that their stock
               28 sales be concealed from WPP. Had WPP learned that the Defendants - and in
                                                                                                        I3

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                1 particular the Founders - were sellng their stock in large quantities, WPP would have
               2 ceased investing in or continuing to support the Company. Among other things, such
               3 information would have alerted WPP to the pump-and-dump scheme and to the fact that
               4 the Founders were reducing their personal stake in the Company, and were using the
               5 Company as a vehicle to make short-term profits.
               6 66. Between February 2006 and March 2008, Defendants engaged in a scheme

               7 or artifice to defraud WPP and other investors in the Company by surreptitiously

               8 diverting millions of dollars in available fuds from the Company coffers by sellng off
               9 substantial quantities of                         their personal stockholdings in the Company, in violation of:
             10 (a) their fiduciary duties to the Company, (b) their Agreements with the Investors, and
             11 (c) applicable securities laws.
    0..
~ ~ ~ 12 67. One of                                 Defendants' scheme was to deceive WPP into
                                                           the objectives of

., i. ~
., ~ ;¿ 0 13 continuing to invest in and support the Company, which WPP would not have done had
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lX Q. UNit own t at t e F oun ers of the Company and other Defendants were sellng off their
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~ ~ ~ ~ 15 shares in large quantities.
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t; ~ g 16 68. As a part of said scheme, the Defendants, acting out of self interest, and in

             17 total disregard of their fiduciary obligations to the Company and the Investors,
             18 conspired and agreed together to purport to waive the rights of                           the Company and WPP
             19 under the ROFR and Co-Sale Agreement and to withhold any mention of                                 the Founders'
             20 stock sales from Company Board meetings, in order to conceal such activity from WPP.
             21 69. All of the Defendants played a direct and primary role in the scheme to

             22 defraud WPP.

             23 70. The Founders of                                            the Company - Defendants Grouf and Waxman-
             24 participated in the scheme by surreptitiously sellng off milions of dollars of their own
             25 stock without disclosing the sales to WPP. Grouf and Waxman knew that their sales
             26 would be highly material to WPP, and so Grouf and Waxman deliberately concealed the
             27 sales from WPP so that WPP would continue to invest in and support the Company.
             28 Grouf and Waxman's deliberate failure to disclose their stock sales was a violation of
                                                                                          14


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                 1 their duties under § 1.2 of the ROFR and Co-Sale Agreement.
                 2 71. Grouf and Waxman also participated in the scheme by failing to provide

                 3 written notice to WPP that the requirements of the ROFR and Co-Sale Agreement had
                 4 been met or waived with respect to their stock sales, despite the fact that § 3.1 of the
                 5 ROFR and Co-Sale Agreement imposes upon the Founders an obligation to provide
                 6 such written notice. Grouf and Waxman deliberately failed to provide such notice
                 7 because such notice would have alerted WPP to the fact that the Founders were sellng
                 8 their stock, and it was essential to the pump-and-dump scheme that WPP not know
                 9 about the Founders' sales.

               10 72. Defendants Battery and Index participated in the scheme by conspiring

               11 with Grouf and Waxman to purport to waive WPP's rights to receive notice of certain
    0..
~ ~ ~ 12 stock sales by Groufand Waxman pursuant to the ROFR and Co-Sale Agreement. In
., i. ~
~ ~ ~ ~ 13 return for being permitted to participate in certain stock sales and thus sell off                                 millions
    a: - ,
; ~ ~ ~ 14 of dollars of their own stock, Battery and Index, functioning as a combined 60%
~ ~ if~
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~ ~ ~ ~ 15 majority preferred shareholder, purported to waive WPP's rights to receive notice of
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t; ~ ~ 16 Founders' stock sales.
    '" -l



               17 73. Battery and Index's purported waiver ofWPP's notice rights did not

               18 actually relieve Grouf and Waxman of their duties to disclose because it did not meet
               19 the requirements of the ROFR and Co-Sale Agreement and was done in bad faith.
               20 74. The Director Defendants Lee, Rimer, and Pittman, as well as Grouf and

               21 Waxman themselves, participated in the scheme by intentionally withholding any
               22 mention of                the Founders' stock sales from Board of                  Directors meetings, as follows:
               23 75. Pursuant to the ROFR and Co-Sale Agreement § 1.1, in order for the

               24 Founders to sell stock the Company must first be given a right of first refusaL. The
               25 Company's decision to exercise or decline its right of first refusal requires Board action.
               26 In the ordinary course of business, such Company decisions would be considered and

               27 discussed at a Board meeting. As a Board Observer pursuant to the Board Observer

               28 Rights Agreement, WPP would be privy to such discussions and thus would receive
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                 1 notice of any proposed sale of the Founders' stock.

                2 76. The Director Defendants Lee, Rimer, Pittman, Grouf and Waxman

                3 deliberately withheld from Board meetings any mention of                                              the Founders' stock sales or
                4 the waiver of                 the Company's right of                      first refusaL. This is evident from the fact that on
                 5 each occasion when the Founders sold shares without notice to WPP, such sales
                6 occurred without any Board meeting consideration of the Company's exercise of its
                 7 first refusal rights. The Director Defendants so acted for the purpose of depriving WPP
                 8 of its rights under the Board Observer Rights Agreement and concealing from WPP the
                 9 existence and magnitude of                                the sales of     stock by the Founders - so that WPP would
                10 continue investing in and supporting the Company which was integral to Defendants'
                11 pump-and-dump scheme.
    0..
~ ~ ~ 12 77. Lee, Rimer, and Pittman, like Grouf and Waxman, engaged in the scheme
., i.::
., ~ ~ g 13 for personal benefit. As detailed below, Battery - of                                            which Lee is a General Partner-
~  i.!: *
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lX ~ ~ ~ 14 and Index - of which Rimer is a General Partner - participated in surreptitious stock
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Z ~ ~ ~ 15 sales with the Founders, simultaneously sellng off                                             milions of dollars of       Battery and
~ t! :¡
t; ~ g 16 Index's Spot Runner stock. Pittman similarly participated by sellng personal Company

                17 stock in January 2008.
                18 78. Huie participated in the fraudulent scheme as follows:

                19 79. In Spring 2007, Spot Runer offered WPP the opportunity to purchase

                20 additional Spot Runer shares pursuant to a new issuance by the Company, and also

                21 offered WPP a possible opportnity to sell its shares to an institutional investor in the
                22 secondary market.

                23 80. In considering the purchase of additional Company stock pursuant to the

                24 new issuance, and given the great significance to WPP of any stock sales by the
                25 Founders or other investors, WPP sent an email to Huie, as General Counsel of Spot
                26 Runner, asking whether any Founder or other investor was sellng their stock to the
                27 institutional investor. As alleged in detail below, Huie's email response on behalf of
                28 Spot Runner - that "(t)his offering does not involve the sale of any existing shares..."-
                                                                                                  16


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             1 was materially misleading in that it omitted the material fact that the Founders Grouf
            2 and Waxman, as well as investors Battery and Index, were in fact sellng shares in large
            3 quantities. Huie thus participated in the scheme by deliberately deceiving WPP through

            4 his materially misleading response, and by his material omissions in responding to

             5 WPP's direct inquiry about Founders' and Investor sales.
            6 81. As alleged in detail below, Defendants again surreptitiously sold milions

            7 of dollars of shares in January 2008.

             8 82. WPP never received prior notice of any of these secondary sales of
             9 Company stock by Defendants, either in its capacity as a Board Observer, as a Preferred
            10 Stockholder, or as a party to the ROFR and Co-Sale Agreement.
            11 83. In sum, all of the Defendants participated directly in the scheme and
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~ ~ g 12 committed acts and omissions with the intent and effect of concealing material
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., i. ~
., ~ ~ 0 13 information, deceiving WPP into believing that the Founders were not sellng their
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; ~ ~ ~ 14 shares, and causing WPP to further invest in and support the Company.
~ g¡ ~ ~
Z ~ g ~ 15 84. In addition to defrauding WPP, Defendants breached their fiduciary duties
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t; ~ g 16 to the Company. The millions of dollars of available investment funds that the

            17 Defendants diverted to themselves or their respective investment funds through their
            18 surreptitious secondary stock sales were needed by the Company to fund ongoing
            19 operations and development efforts. The Defendants' decisions to line their own
            20 pockets rather than bring in needed capital to the Company amounted to self-dealing in
            21 violation of their fiduciary duties to the Company and its other investors.
            22 85. Pursuant to Defendants' fraudulent scheme, the Defendants improperly

            23 sold more than $54 milion of common shares of the Company in violation of the rights
            24 of the Company and the Investors, and at a time when the Company remained a start-up
            25 operation in need of investment capitaL.
            26 Chronology of Stock Sales and Related Communications
            27 Defendants' Spring 2006 sales

            28 86. In early 2006, before WPP invested in the Company, the Founders sold off
                                                            i7


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               1 millions of dollars of their common shares. In or around February and March 2006,
              2 Grouf sold approximately 4.7 milion shares at $1.64 per share for proceeds of
              3 approximately $7.2 milion. Waxman also sold 527,249 shares for $811,963 and Shaw
              4 sold 277,498 shares for $427,347.

              5 87. Significantly, WPP was not informed that the Founders had sold these

              6 shares when it invested in Spot Runner in the Series C Financing Round in August
              7 2006. Had WPP known of                                  the Founders' sales, WPP would have reconsidered its
              8 investment in the Company. The Founders' sales of their own shares would have been
              9 material to WPP because such sales were wholly at odds with the venture capital
            10 fundraising being done for a start-up company, reduced the Founders' personal stake
            11 and investment risk in the Company's success, and suggested that the Founders did not
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~ ~ ~ 12 believe in the Company or the products it had under development.
., i. ~
., ~ ~ g 13 Defendants' October 2006 Sales
i; i.!: *

; ~ ~ ~ 14 88. Shortly after WPP invested $10 milion in the Series C Financing Round
~ ~ æ ~
z ~ ~ ~ 15 and entered into the ROFR and Co-Sale Agreement, in October 2006, Founders Grouf
~ u :¡
t; ~ g 16 and Waxman again sold shares without disclosure to WPP. Unbeknownst to WPP,
            17 Groufsold 880,761 shares of                                  his Company common stock at $3.69 a share for
            18 $3,250,008, and Waxman sold 203,250 shares of                                  his Company common stock at $3.69
            19 for $749,993 (the "October 2006 Sales").
            20 89. The Founders intentionally failed to provide notice to WPP of                                      these stock
            21 sales despite the duty imposed on the Founders to provide such notice pursuant to the
            22 ROFR and Co-Sale Agreement § 1.2.
            23 90. There was no legally effective waiver ofWPP's rights that would relieve

            24 the Founders of                     this duty of disclosure.
            25 91. The Founders did not provide notice to WPP that the requirements of                                         the
            26 ROFR and Co-Sale Agreement had been met or waived with respect to the October
            27 2006 Sales, despite the fact that § 3.1 of the ROFR and Co-Sale Agreement imposes
            28 upon the Founders a duty to provide such notice.
                                                                                         18


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                1 92. In order for the Founders to sell their stock in the October 2006 sales, the

                2 Spot Runner Board of Directors had to waive the Company's rights of first refusal
                3 pursuant to the ROFR and Co-Sale Agreement. In the normal course of                                    business,
                4 discussion of this issue would take place at a Board meeting.

                5 93. The Board Observer Rights Agreement gave WPP the right to be privy to

                6 Board discussions including discussions about the Company's decisions to waive its
                7 rights of first refusaL. The Board Observer Rights Agreement created a relationship of

                8 trust and confidence between WPP, Spot Runner, and the members of
                                                                                                                       the Board.
               9 94. The Director Defendants - Lee, Rimer, Pittman, Grouf and Waxman-

              10 intentionally withheld any mention of                                  the Founders' stock sales from Board meetings.
              11 The Director Defendants did so for the purpose of depriving WPP of its rights under the
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~ i-
  ~_!_ 12 Board Observer Rights Agreement and concealing from WPP the existence and
., ~ ~ g 13 magnitude of                        the October 2006 Sales - so that WPP would continue investing in the
~ i.!: *
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lX ~ ~ ~ 14 Company which was integral to Defendants' scheme.
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~ ~ ~ ~ 15 95. As a result of
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                                                                        Defendants' fraudulent scheme, WPP received no notice of
t; ~ g 16 the October 2006 Sales under the ROFR and Co-Sale Agreement, and was wholly

             17 unaware öf these sales, even though WPP had Board Observer rights and the right
             18 under the ROFR and Co-Sale Agreement to receive notice of any proposed sale by the
             19 Founders.

             20 Defendants' Spring 2007 Sales and WPP's Spring 2007 Purchase

             21 96. In the spring of 2007, the Company held another round of common stock

             22 financing (the "Common Stock Financing Round").

             23 97. Unbeknownst to WPP, Grouf and Waxman secretly sold their shares at that

             24 time, along with Battery and Index (the "Spring 2007 Sales"). According to admissions
             25 made to WPP in March 2009, as part of                                    the Spring 2007 Sales, Grouf sold 525,939
             26 shares of               his Company common stock at $4.66 a share for $2,450,876, Waxman sold
             27 123,392 shares of                        his Company common stock for $575,007, and Battery and Index
             28 both sold 525,939 shares of                               their converted Company stock for $2,450,876 each.
                                                                                            19


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                1 98. The Founders, Grouf and Waxman, intentionally failed to provide notice to

               2 wpp of               these stock sales despite the duty imposed on the Founders to provide such
               3 notice by the ROFR and Co-Sale Agreement § 1.2.

               4 99. The Founders' failure to disclose their stock sales to WPP was a material

               5 omission by the Founders, committed for the purpose of deceiving WPP into believing
               6 that the Founders were not sellng their stock so that WPP would continue to invest in

               7 Spot Runner.

               8 100. There was no legally effective waiver ofWPP's rights that would relieve

               9 the Founders of                       this duty of disclosure.
             10 101. The Defendants knew that if WPP learned of the Founders' stock sales,

             11 WPP would stop investing in Spot Runner.
  0..
~ ~ g 12 102. The Founders Groufand Waxman agreed with Battery and Index that
~ :i~
  I- _
., ~ ~ 0 13 Battery and Index would purport to waive WPP's rights pursuant to the ROFR and Co-
~ ~ ~ ~
    a: - ,
; ~ ~ ~ 14 Sale Agreement to receive notice of
.. ~., õ                                                                              the Founders' Spring 2007 Sales, in exchange for
~ :i W :;
Z ~ ~ - 15 Battery and Index participating in the Spring 2007 Sales.
P; t! :¡ .
t; ~ g 16 103. Battery and Index's purported waiver ofWPP's notice rights did not

             17 actually relieve Grouf and Waxman of their duties to disclose because it did not meet
             18 the requirements of                        the ROFR and Co-Sale Agreement §§ 3.9 and 3.1.
             19 104. WPP received no notice of                                           any purported waiver ofWPP's rights with
             20 respect to the Spring 2007 Sales.
             21 105. There was no shareholder vote concerning any purported waiver ofWPP's

             22 rights to receive notice of                            the Founders' Spring 2007 Sales.
             23 106. WPP received no notice of, or opportunity to paricipate in, any vote
             24 concerning any purported waiver ofWPP's rights to receive notice of                                    the Founders'
             25 Spring 2007 Sales.

             26 107. Battery and Index's intentional failure to hold the required vote, which
             27 would have provided notice to WPP of                                    the Founders' stock sales, was a material
             28 omission. Had the required shareholder vote been held pursuant to the ROFR and Co-
                                                                                            20

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                1 Sale Agreement, WPP would have received notice of                                the Founders' stock sales.
               2 108. There was no waiver of notice rights on behalf of all Investors, in that
               3 Battery and Index received notice of and participated in the Spring 2007 Sales.
               4 109. The Founders did not provide notice to WPP that the requirements of the

               5 ROFR and Co-Sale Agreement had been met or waived with respect to the Spring 2007
               6 Sales, despite the fact that § 3.1 of the ROFR and Co-Sale Agreement imposes upon the
               7 Founders an obligation to provide such notice.
               8 110. The Founders' failure to provide notice pursuant to § 3.1 of                                    the ROFR and
               9 Co-Sale Agreement of                            the purported waiver ofWPP's notice rights was a material
              10 omission by the Founders, committed for the purpose of deceiving WPP into believing
              11 that the Founders were not sellng their stock so that WPP would continue to invest in
    0..
~ 'I~ '"g 12 Spot Runner.
., i. ~
~ ~ ~ ~ 13 111. The Defendants knew that ifWPP learned of                                               the Founders' stock sales,
    a: - ,
; ~ ~ ~ 14 WPP would stop investing in Spot Runner.
.. ~., õ
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~  § I ~ 15 112. In order for the Founders to sell their stock in the Spring 2007 Sales, the
t; ~ g 16 Spot Runner Board of Directors had to waive the Company's rights of first refusal

              17 pursuant to the ROFR and Co-Sale Agreement. In the normal course of business, this
              18 discussion would take place at a Board meeting.
              19 113. The Director Defendants - Lee, Rimer, Pittman, Grouf and Waxman-

             20 intentionally withheld any mention of                                the Founders' stock sales from Board meetings.
             21 The Director Defendants did so for the purpose of depriving WPP of its rights under the
             22 Board Observer Rights Agreement and concealing from WPP the existence and
             23 magnitude of                    the sales of          stock by the Founders and other Defendants - so that WPP
             24 would continue investing in the Company which was integral to Defendants' scheme.
             25 114. This was a material omission by the Director Defendants Lee, Rimer,

             26 Pittman, Grouf and Waxman.

             27 115. As a result, WPP received no notice of the Spring 2007 Sales under the

             28 ROFR and Co-Sale Agreement, and was wholly unaware of these sales, even though
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                 1   WPP had Board Observer rights and the right under the ROFR and Co-Sale Agreement
                2    to receive notice of any proposed sale by the Founders.
                3          116. Meanwhile, by letter dated April 17,2007, Huie, as General Counsel of      the
                4    Company, sent WPP an offer for WPP to purchase Company stock pursuant to a new
                 5   issuance by the Company.
                6          117. On May 10, 2007 WPP received a letter (the "May 10 letter") from Spot
                 7   Runner informing it that the Company had sold shares of common stock to an
                 8   institutional investor. The letter further informed WPP that the investor "has expressed
                 9   a desire to purchase additional shares of common stock. The Company currently does
                10   not need additional capital but has offered to help faciltate sales of common stock by
                11   existing stockholders (if possible)."
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     g 12                   118. The May 1 0 letter further stated that:
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";~~o13                               Please note that we are notifying all preferred stockholders
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.,
     a: - ,
     .i ;; gi   14                    and the founders of the Investor's desire to purchase
lXQ.UN                                additional shares of common stock. In order to ensure an
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                                      orderly and efficient process, we wil facilitate by allocating,
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t; ~
   00(j 16                            on a pro rata basis, the Investor's demand among the notified
     '" -l
                                      stockholders, who have indicated an interest to sell. There is
                17                    no guarantee, however, that the Investor wil be wiling to
                                      purchase any or all of the shares any of the notified
                18
                                      stockholders may decide to selL.
                19

             20 119. The May 10 letter then asked WPP to return a form indicating whether it
             21 was interested in selling shares to the investor.
             22 120. The May 10 letter was accompanied by a cover email from Huie to WPP

                23 which, like the May 10 letter, referenced the opportnity to sell stock in a secondary
                24 offering.
                25 121. The May 10 letter failed to disclose that Grouf, Waxman, Battery and
                26 Index were engaged in a scheme to divert available investment monies away from the
                27 Company to themselves, having already secretly sold millions of dollars of their own
                28 Company stock, while the Company was losing tens of millions of dollars per year, and
                                                                                                22

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             1 intended to continue sellng shares and diverting corporate opportunities pursuant to

             2 their scheme.

             3 122. On May 14,2007, Groufsent WPP an email summarizing WPP's
             4 investment options, which included sellng shares in the secondary offering and
             5 purchasing shares in the new issuance.

             6 123. On May 15,2007, WPP responded stating that it would like to proceed
             7 with the option of purchasing shares in the new issuance, as offered in the April 17,
             8 2007 letter, to maintain its percentage ownership leveL.
             9 124. Later on May 15,2007, Huie sent an email to WPP confirming that WPP

            10 will be purchasing additional shares and again referencing the opportunity to sell shares
            11 in the secondary offering.
   0..
~ ~ ~ 12 125. On Friday, May 18,2007, there was an email exchange between Huie and
., i.::
~ ~ ~ g 13 WPP's counsel, Steven Manet. Huie and Manket discussed both WPP's decision to
   cr:: ~
; ~ ~ ~ 14 purchase additional shares and the opportunity to sell shares in the secondary offering.
.. ~., õ
~ :: W M

~ ff ~ ~ 15 In the penultimate email in the chain, after discussing WPP's decision to purchase
I" (. :¡
t; ~ g 16 additional stock, Huie made reference to the opportunity to sell shares "in a secondary"


            17 and asked Manket whether "WPP has signed the confirmation that they are not sellng".
            18 Huie concluded the email by stating "WPP indicated earlier that they were passing on
            1 9 the sale option".
            20          126. In the last email in the Friday, May 18 email chain, Manket responded by
            21   "( c )onfirming that they are passing on the sale option".
            22          127. The next business day - Monday, May 21, 2007 - WPP's counsel
            23   Alexander Barr sent an email to Huie, copying Steven Manket, stating:
            24                "I wanted to quickly follow up on your conversation with
                              Steve Manket Friday with a couple questions WPP has for its
            25
                              internal processes". (emphasis added)
            26
                        128. Barr was thus clearly following up on the email conversation on Friday,
            27
            28
                 May 1 8, which left off with a discussion of the sale of shares in the secondary offering.
                                                              23

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           1              129. Barr then specifically asked Huie:
          2                           "Is there an existing investor and/or founder sellng existing
                                      shares related to this offering? If so, who is selling shares and
          3
                                      how many shares are they sellng?"
          4

          5
                          130. Thus, following up on the Friday conversation which left off discussing the

          6
               opportnity to sell shares in the secondary offering, Barr on behalf of WPP was asking

          7
               whether any Founder or other investor was "selling existing shares related to this

           8
               offering" (emphasis added). WPP was not asking whether any Founder or other
               investor was sellng "existing shares" pursuant to the new issuance of stock by the
           9

          10
               Company - such a question would have made no sense and thus Huie knew that WPP
               was asking about secondary sales by the Founders or other Investors.
          11
   0..
   ow 12                   131. WPP was assured by reply e.,mail from Mr. Huie that same day that
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                       "(t)his offering does not involve the sale of any existing
~ i.!: *               shares. It is an entirely new issuance by the Company."
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~ ~ g ~ 15 132. Huie's response email was materially misleading in that, in the context of
~ ~N -l~ 16 the email exchange and the exchange the previous Friday, it deliberately misled WPP

          17 into believing that no Founder or other investor was sellng stock pursuant to the
          18 secondary offering. In order to make his statement not misleading, it was incumbent
          19 upon Huie to state that Grouf, Waxman, Battery, and Index were sellng their shares
          20 pursuant to the secondary offering.
          21
                           133. Huie's failure to disclose the stock sales was a material omission.
                           134. On or about May 24, 2007, to maintain its percentage share of                          the
          22
               Company's stock, WPP purchased 383,111 shares of                                      common stock from the Company
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          24
               at $4.66 per share for a total investment of$I,785,297 in this round.

          25
                           135. Had WPP known the Founders and other Defendants were sellng large

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               amounts of their Spot Runner stock, WPP would not have purchased the additional
               383,111 shares of                 stock from the Company in May 2007.
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                           136. As a direct result of                       Defendants' material omissions and acts of
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                1 concealment which were committed in furtherance of Defendants' fraudulent scheme,
               2 WPP did not learn of                        these sales by the Founders and other Defendants.
               3 137. WPP reasonably relied on the fact that it had contractual arrangements in
               4 place to provide notice of                           the Founders' stock sales, including the ROFR and Co-Sale
               5 Agreement and the Board Observer Rights Agreement. As detailed above, Defendants
               6 intentionally circumvented these arrangements and deprived WPP of its rights under
               7 these agreements and the securities laws by their material omissions and acts of
               8 concealment in furtherance of their fraudulent scheme.
               9 138. WPP also reasonably relied on the fact that Huie was required to disclose
              10 the Founders' and the other Defendants' stock sales as a result ofWPP's direct inquiry
              11 to Huie. As detailed above, Huie intentionally misled WPP by omitting the material
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~;:'I gm      12 fact of           the Founders' and other Defendants' stock sales in the May 21,2007 response to
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   WOO                WPP.
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lX                    Defendants' January 2008 Sales
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                                  139. In January 2008, without the required notice to WPP and as part of                 the
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   N -l               ongoing scheme to usurp corporate opportunities and line the Defendants' pockets at
              17 the expense of                  the Company and WPP, Grouf, Waxman, Battery and Index, along with
              18 Director Pittman, again surreptitiously sold substantial quantities of their Spot Runner
              19 stock (the "January 2008 Sales"). WPP only recently discovered in March 2009, that
           20 the January 2008 sale shares included the following amounts:
           21         Seller                                                 Number of Shares               Proceeds
           22         Nick Grouf                                              1,126,575                     $6,759,450
           23         David Waxman                                            119,109                       $714,654
           24         Battery                                                750,853                        $4,505,118
           25         Index                                                  750,853                        $4,505,118
           26         Robert Pittman                                         29,653                         $177,918
           27
           28
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            1 The March 2008 Sales

           2 140. Finally, in March 2008, Grouf, Waxman, Battery and Index, along with

           3 Director Pittman again sold Spot Runner shares, in the following amounts:

           4    Seller                                                Number of Shares               Proceeds
           5    Nick Grouf                                            1,183,632                      $7,101,792
           6    David Waxman                                          125,142                        $750,852
           7    Battery                                               788,882                        $4,733,292
            8   Index                                                 788,882                        $4,733,292
           9    Robert Pittman                                        31,155                         $186,930
           10                141. On this occasion, WPP was given notice of the proposed March 2008
           11   secondary share sales by the Founders, Pittman, Battery and Index, and was offered an
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~ 'I
  ~ mg 12       opportunity to sell shares pro rata with the Founders at that time. But WPP was given
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   woo*         no notice at the time that the same insiders had previously sold almost $40 milion in
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.. ~., õ        Company stock, or that the financial condition of the Company should have precluded
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Z ~ ~ ~ 15      such sales.
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   N ..                      142. Undisclosed to WPP at the time, the proceeds from the sales of
           17 Defendants' secondary shares through March 2008 were over $54 milion.

           18         143. The Defendants sold their shares even though the Company needed
           19 additional capital and thus breached their fiduciary duties to the Company by taking this
           20 opportnity to divert capital away from the Company so that they could profit from the
           21   sales of      their own shares and/or the shares of                    their respective investment funds.
           22                144. By January 2008, WPP was becoming increasingly frustrated with the
           23   opacity ofthe Company's management which went against their assurances at the time
           24 WPP initially invested that management would operate the Company in a transparent
           25   fashion. WPP had also heard rumors that insiders had sold off stock and WPP was
           26 seeking to obtain additional information about such sales. All information requests
           27 were rebuffed.
           28                145. In March 2008, WPP was given the opportunity to sell shares only after
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                 1 complaints to the Company that it was not happy with its investment in Spot Runner.
                 2 Grouf advised that because WPP was unhappy with the Company, he would help place

                 3 the sale ofWPP's shares. However, Spot Runner only permitted WPP to sell 152,273
                4 of         its Company shares in March 2008 for approximately $900,000, while the
                 5 Defendants took the opportunity to sell almost 2,917,652 of                                          their Company shares in
                 6 March 2008 for approximately $17.8 milion. They did so without disclosing to WPP
                 7 that they had                just sold another $18 millon in Spot Runner common stock in January
                 8 2008, or that they had already received almost $40 millon as a result of                                         their sales of
                 9 Company stock in previously undisclosed sales.
               10 146. To date, Grouf and Waxman have received approximately $30 milion

       11 from sales of Company stock in breach of their fiduciary duties to the Company and to
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~ ~ ~ 12 WPP as a minority Investor under the ROFR and Co-Sale Agreement.
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., ~ ~ 0 13 147. To date, Battery and Index have received $24 millon from sales of
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; ~ ~ ~ 14 Company stock in breach of                                        their fiduciary duty to the Company, and to WPP as a
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Z ~ w ~ 15 minority Investor.
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t; ~ g 16 148. Although often requested by WPP, Spot Runner has never provided

               17 audited financial statements to WPP in its capacity as a Board Observer or preferred
               18 stockholder. However, it has recently disclosed that the financial performance of                                           the
               19 Company through 2007 and 2008 did not                                               justify the Defendants' extraordinary
               20 diversion of opportunity for additional funding for the Company which came to light in
               21 2009.

               22 The March 2009 Admissions

               23 149. In March 2009, the Founders admitted to WPP the extent of                                                      their
               24 previously undisclosed stock sales, and the financial condition of the Company which
               25 should have precluded any such sales. In addition to disclosing the stock sales listed
               26 above, they revealed for the first time that Spot Runner's operations in 2007 and 2008
               27 resulted in an approximate $35 millon loss to the Company for the 2007 fiscal year,
               28 and an approximate $45 millon loss to the Company for the 2008 fiscal year; that the
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                 1 total Company revenues for each year amounted to approximately $5 milion for the
                2 2007 fiscal year and $9 millon for the 2008 fiscal year; and that the Company had
                 3 expended all but approximately $20 millon of its investor capital, while stil losing
                4 money at the rate of $35-45 million per year. Upon information and belief, the
                 5 Company had raised approximately $100 million from investors, and had already
                 6 expended approximately $80 millon of those Investor dollars by the time of the March
                 7 2009 meeting - without completing development of its principal product. Under the
                 8 cìrcumstances, the Defendants' diversion of $54 milion in available investment funds

                 9 to their own pockets was wholly unjustifiable, and in blatant breach of                              their fiduciary
               10 duties to the Company and its stockholders.
               11 Additional Materiality Allegations
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  ~ mg 12 150. The omissions set forth herein were materiaL.
., i. ~
., ~ ~ 0 13 151. In March 2009, the Founders admitted to WPP that they were
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; ~ ~ ~ 14 surreptitiously sellng off millons of dollars of stock at a time when the Company was
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Z ~ ~ ~ 15 losing millons of dollars per month on average and tens of     millons of dollars per year,
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t; ~ g 16 and had not even completed development of
                                                                                               its product. The Founders' sales
               17 constituted material information in that such sales were wholly at odds with the venture
               18 capital fundraising being done for this start-up company, reduced the Founders'
               19 investment risk and personal stake in the Company's success, and suggested that the
               20 Founders did not believe in the Company or the products it had under development.
               21 152. The fact that the Founders of                                         such an inchoate start-up company were
               22 engaged in a scheme to surreptitiously divert milions of dollars of available investment
               23 capital away from the Company and to themselves, thus using the Company as a
               24 vehicle to line their own pockets while the Company was losing milions, would be
               25 highly significant to a reasonable investor.
               26 153. The existence of the ROFR and Co-Sale Agreement demonstrates the

               27 paramount importance of opportnities to obtain new investment capital and the
               28 heightened significance of any sales of stock by the Founders of                                the Company, and thus
                                                                                             28

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               1 the materiality of the omissions. The fact that an elaborate contractual arrangement was

               2 developed for the purpose of alerting the Investors to Founders' sales of stock
               3 demonstrates the significance of such sales to a reasonable investor. Indeed, the ROFR
               4 and Co-Sale Agreement expressly states that it is "a condition to the closing of the sale
               5 of the Series C Preferred to the Series C Investors" - which included the initial $10

               6 millon investment by WPP.

               7 154. Because the Founders' stock sales constituted material information, the

               8 fraudulent conduct and omissions by Defendants to disclose such sales were materiaL.
               9 155. For the same reasons, the fact that insiders Battery and Index participated
             10 in the Founders' scheme and also sold off                         millions of dollars of stock as part of   the


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             1 1 pump-and-dump scheme was also material information.
~ ~ g 12 Additional Scienter Alleoations
., ~ ~ g 13 156. All of
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                                                            the Defendants acted with scienter in carring out the fraudulent
; ~ ~ ~ 14 scheme detailed herein, in that all of                            the Defendants acted with knowledge.
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~ ~ g ~ 15 157. In addition, the Defendants also acted with the intent to deceive WPP so
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t; ~ g 16 that WPP would continue investing in Spot Runner, which was integral to Defendants'

              17 scheme and allowed Defendants to sell their stock at increasing valuations while the
              18 Company lost millions of dollars per month.
              19 A. Additional Scienter Allegations Regarding Grouf and Waxman
             20 158. Groufand Waxman acted with the requisite scienter when they failed to
             21 disclose the material fact of their stock sales to WPP despite the duties imposed on
              22 them by the ROFR and Co-Sale Agreement, in that Grouf and Waxman knew of their
              23 own stock sales and of the notice requirements imposed upon them by that Agreement.
              24 Grouf and Waxman's knowledge is evident from the simple fact that these were their
              25 own stock sales and they were parties to the Agreement.
              26 159. Groufand Waxman thus acted with knowledge.
              27 160. In addition, Grouf and Waxman knew - based on, among other things, the

              28 existence of the ROFR and Co-Sale Agreement - how significant their stock sales
                                                                                    29

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               1 would be to WPP and that WPP would not continue to invest in or support Spot Runner
              2 ifWPP learned of                        the Founders' stock sales. Grouf and Waxman deliberately
              3 conducted their stock sales in secret and failed to disclose them to WPP so that WPP
              4 would continue to invest in and support Spot Runner. WPP's continued support of                                             Spot
              5 Runner was essential to the pump-and-dump scheme through which Grouf and
              6 Waxman made milions of dollars of personal profit by diverting milions of dollars of
              7 investment monies away from the Company and into their own pockets while the
              8 Company was losing money at the average rate of three to four milion dollars per
              9 month.
            10                     161. The surreptitious manner in which Grouf and Waxman went about their
            11       stock sales - e.g., failing to provide the disclosures required by the ROFR and Co-Sale
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  ~ mg 12            Agreement §§ 1.2 & 3.1 and intentionally withholding any discussion of the stock sales
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";~~o13 and the Company's rights of first refusal from Board of Directors meetings - further
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lXQ.UN               evidences Grouf and Waxman's intent to deceive WPP.
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Z ~ ~ ~ 15 B. Additional Scienter Allegations Regarding Battery and Index
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t; ~ g 16 162. Battery and Index acted with scienter when they concealed, failed to

            17 disclose, and participated in the Founders' secret stock sales, while disregarding and
            18 violating WPP's notice rights under the ROFR and Co-Sale Agreement.
            19 163. Battery and Index knew of                                                     the Founders' stock sales. Battery and Index's
            20 knowledge of                     the Founders' stock sales is evident from (i) the fact that Battery and
            21 Index purported to waive WPP's rights in connection with the Spring 2007 Sales, albeit
            22 that waiver was not legally effective because it did not meet the requirements of that
            23 Agreement; (ii) the fact that, in exchange for providing the purported waiver, Battery
            24 and Index were permitted to participate in the Spring 2007 Sales and did in fact sell
            25 their own stock as part of                            the Spring 2007 Sales; (iii) the fact that, as alleged below, Lee
            26 and Rimer knew of                          the Founders' stock sales as a result of                  the Company's rights offirst
            27 refusal with respect to such transactions, and Lee and Rimer's knowledge is imputed to
            28 Battery and Index, respectively, because Lee and Rimer are General Partners of                                            Battery
                                                                                                     30

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              1 and Index, respectively.
              2 164. Battery and Index thus acted with knowledge.

              3 165. In addition, Battery and Index knew - based on, among other things, the

              4 existence of the ROFR and Co-Sale Agreement to which they were parties - how

              5 significant the Founders' stock sales would be to WPP and that WPP would not
              6 continue to invest in Spot Runner ifWPP knew of                                                 the Founders' stock sales. Battery
              7 and Index conspired with the Founders to conceal the Founders' stock sales so that
              8 WPP would continue to invest in and support Spot Runner. WPP's continued
              9 investment in Spot Runner was essential to the pump-and-dump scheme through which
             10 Battery and Index made milions of dollars of                                            profit while the Company's financial
             11 condition deteriorated.
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~ ~ ~ 12 166. The surreptitious manner in which Battery and Index purported to waive
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~ ~ ~ ~ 13 WPP's rights in the Spring of2007, without notice to WPP, further evidences Battery
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; ~ ~ ~ 14 and Index's intent to deceive WPP.
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Z ~ ~ ~ 15 167. The fact that Battery and Index continued to participate in the scheme and
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t; ~ g 16 again purported to waive WPP's notice rights so they could secretly sell milions of

             17 dollars of Company stock with the Founders in the January 2008 Sales without notice to
             18 WPP, further evidences Battery and Index's intent to deceive WPP.
             19 C. Additional Scienter Allegations Regarding Lee and Rimer
             20 168. Lee and Rimer acted with scienter when they deliberately withheld from
             21 Board meetings any mention of                                 the Founders' stock sales or the waiver of                      the
             22 Company's right of first refusal, in order to prevent WPP from learnng of the
             23 Founders' stock sales through WPP's status as a Board Observer.
             24 169. Lee and Rimer knew of                                             the Founders' stock sales. Lee and Rimer's
             25 knowledge of                     the Founders' stock sales is evident from (i) the fact that, in order for the
             26 Founders to sell their stock, the Spot Runner Board of                                                     Directors had to waive the
             27 Company's rights of first refusal pursuant to the ROFR and Co-Sale Agreement, and so
             28 Lee and Rimer as Directors would have been privy to that process on multiple
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                  1 occasions; (ii) the fact that Battery and Index participated in the Spring 2007 Sales, and
                  2 Battery's knowledge is imputed to its General Partner, Lee, and Index's knowledge is
                  3 imputed to its General Partner, Rimer.
                  4 170. Lee and Rimer thus acted with knowledge.

                  5 171. In addition, Lee and Rimer knew - based on, among other things, the

                  6 existence of                the ROFR and Co-Sale Agreement - how significant the Founders' stock
                  7 sales would be to WPP and that WPP would not continue to invest in and support Spot
                  8 Runner ifWPP knew of                                the Founders' stock sales. Lee and Rimer deliberately
                  9 withheld any mention of                             the Founders' sales from Board meetings for the purpose of
                10 depriving WPP of its Observer rights under the Board Observer Rights Agreement and
                11 concealing from WPP the existence and magnitude of                                the sales of stock by the Founders
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~  ~ g 12 and other Defendants. Lee and Rimer did this so that WPP would continue investing in
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., ~ ~ g 13 and supporting the Company - which was essential to the pump-and-dump scheme
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lX ~ ~ ~ 14 through which Battery and Index, ofwhich Lee and Rimer, respectively, were General
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Z ~ ~ ~ 15 Partners, made milions of dollars while the Company was losing milions.
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t; ~ g 16 172. The deceptive conduct by Lee and Rimer - intentionally withholding

                17 discussion and votes on the Founders' stock sales from Board meetings when such

                18 discussion and votes should have occurred at Board meetings in the regular course of
                19 Board business - can only have been intended to deprive WPP of information as a
                20 Board Observer. This conduct further evidences Lee and Rimer's intent to deceive
                21 WPP.
                22 173. Lee and Rimer's intent to deceive WPP into continuing to invest in and
                23 support Spot Runner is further evidenced by the fact that Lee and Rimer participated in
                24 the scheme and deliberately withheld information from WPP for personal benefit.
                25 Battery - of which Lee is a General Partner - and Index - of which Rimer is a General

                26 Partner - participated with the Founders in surreptitious stock sales on multiple
                27 occasions, sellng off                         millions of dollars of   Battery and Index's Spot Runner stock.
                28
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                1 D. Additional Scienter Allegations Regarding Pittman
                2 174. Pittman acted with scienter when he deliberately withheld from Board

                3 meetings any mention of                               the Founders' stock sales or the waiver of                             the Company's right
                4 of          first refusal, in order to prevent WPP from learning of                                                the Founders' stock sales
                5 through WPP's status as a Board Observer.
                6 175. Pittman knew of                                           the Founders' stock sales. Pittman's knowledge of                           the
                7 Founders' stock sales is evident from the fact that, in order for the Founders to sell their
                8 stock, the Spot Runner Board of                                       Directors had to waive the Company's rights of                       first
                9 refusal pursuant to the ROFR and Co-Sale Agreement, and so Pittman as a Director

               10 would have been privy to that process.
               11 176. Pittman thus acted with knowledge.
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~ ~ ~ 12 177. In addition, Pittman knew - based on, among other things, the existence of
., i.::
., ~ ~ g 13 the ROFR and Co-Sale Agreement - how significant the Founders' stock sales would
~  i.!: *
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lX ~ ~_ ~ 14 be to WPP and that WPP would not continue to invest in and support Spot Runner if
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~ ~ ~ - 15 WPP knew of     the Founders' stock sales. Pittman deliberately withheld any mention of
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t; .~ g 16 the Founders' sales from Board meetings for the purpose of depriving WPP of its rights

               17 under the Board Observer Rights Agreement and concealing from WPP the existence

               18 and magnitude of the sales of stock by the Founders and other Defendants. Pittman did
               19 this so that WPP would continue investing in and supporting the Company which was
               20 essential to the pump-and-dump scheme through which Pittman sold stock in January
               21 2008.
               22                     178. The deceptive conduct by Pittman - intentionally withholding any mention
               23        of   the Founders' stock sales from Board meetings though these would have been the
               24        subject of         Board meetings in the regular course of                                      business - to deprive WPP of
               25        information as a Board Observer further evidences Pittman's intent to deceive WPP.
               26                                                     Additional Loss Causation Allegations
               27                     179. Spot Runner is a privately held company whose stock is not sold in any
               28        liquid, public market and has no publicly discernable market price.
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               1 180. The Company was solely responsible for fixing the price of Company
               2 stock at all times relevant to this action. As a result of                                  Defendants' scheme to divert
               3 needed investment monies from the Company to their own pockets by deceptive
               4 conduct, and their deliberate deception of a principal investor, the price fixed by the
               5 Company in May 2007, and at all times thereafter, was fraudulent and misleading.
               6 181. Defendants' fraudulent conduct and material omissions concealed from

               7 WPP the fact that Defendants were diverting much-needed capital from the Company
               8 and that Defendants were more interested in making short-term profits off their shares
               9 than in making Spot Runner a profitable company. WPP would not have invested in
             10 Spot Runner had it known these facts.
             11 182. Defendants' fraudulent scheme, and the material facts the Defendants
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~ ~ ~ 12 omitted to disclose, directly caused WPP's loss of                                               the $1.7 milion WPP invested in
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., ~ ~ 0 13 additional shares of Spot Runner in May 2007. Because of                                              Defendants' undisclosed
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; ~ ~ ~ 14 scheme to divert millions of dollars ofneeded investment monies from the Company to
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~ ~ g ~ 15 their own pockets rather than working towards the success and viability of the
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t; ~ g 16 Company, the shares Spot Runner sold WPP in May 2007 were worthless when sold.

              17 As later revealed in March 2009, Spot Runner was at all relevant times in need of                                        the
              18 investment monies the Defendants diverted to themselves. Spot Runner had not
              19 completed development of                                   its principal product, Project Malibu, and its operating losses
             20 were exceeding revenues by three to four millon dollars per month in May 2007 and
             21 throughout 2007 and 2008. Moreover, the very existence of                                          the Defendants' scheme
             22 itself was an undisclosed deceptive act aimed at one of Spot Runner's principal
             23 investors. With the disclosure of                                    the true facts about the Defendants' surreptitious
             24 scheme and the fraud being perpetrated upon one of Spot Runner's principal investors,
             25 no reasonable private investor would purchase Spot Runner securities. Without a
             26 market, WPP's investment in Spot Runner is worthless.
              27 State Court Action, Equitable Tolling, and Relation-Back
              28 183. WPP filed its original complaint in this action on April                                             9, 2009 (the
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                 1 "Original Federal Complaint"). The Original Federal Complaint contained all of                                           the
                 2 claims, including the state law claims, that are set forth in this Complaint.
                 3 184. On September 14,2009, this Court (Judge Percy Anderson) granted (with

                 4 leave to amend) Defendants' motion to dismiss the Original Federal Complaint as to the
                 5 federal securities claims and declined to reach the state law claims.

                 6 185. On October 13,2009, WPP filed its first amended complaint (the "First
                 7 Amended Complaint"), which also contained all of                                        the claims, including the state law
                 8 claims, that are set forth in this Complaint.
                 9 186. On January 27,2010, Judge Anderson issued an order again dismissing the

                10 federal securities claims without prejudice, aIld giving WPP leave to amend some of the
                11 claims against certain Defendants. Judge Anderson again declined to reach the state
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~ ~.. gm 12 law claims "until the Court'sJ'urisdiction over the case has been established".
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~ ~ ~ g 13 187. On January 27, 2010, the case was transferred to Judge Dolly M. Gee.
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; ~ ~ ~ 14 188. WPP elected not to amend and on February 12,2010, filed a notice with
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~  æ ~ ~ 15 the District Court requesting a final order of dismissal without prejudice.
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t; ~ g 16 189. On February 25, 2010, this Court (Judge Gee) issued a final                                                            judgment of

                17 dismissal of this action without prejudice.
                18 190. On March 17, 2010,WPP filed a notice of appeal of                                                that portion of    the
                19 judgment that dismissed its federal securities fraud claims.
                20 191. On April 23, 2010, WPP filed a complaint in the Superior Court of                                                   the
                21 State of             California for the County of                          Los Angeles, Case No. BC 436458, (the "State
                22 Court Complaint") against the same Defendants as those named in this Complaint. The
                23 State Court Complaint asserts claims identical to those asserted in Counts Three, Four,
                24 and Six of this Complaint. These same claims were also asserted in the Original
                25 Federal Complaint and First Amended Complaint in this action.
                26 192. The purpose of WPP filing its state court claims in state court was to move
                27 forward expeditiously in this litigation rather than wait for the federal appellate process
                28 to run its course.
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                 1 193. However, Defendants successfully moved to stay the state court action.
                2 Defendants asked the state court to defer any consideration of                                      the state law claims to
                3 this Court in the event of a Ninth Circuit reversaL. Defendants argued in support of the

                4 stay that if              the Ninth Circuit reversed the dismissal ofWPP's federal securities claims,
                 5 WPP should re-plead its state law claims in this Court and that this Court was the
                 6 proper forum in which to litigate all ofWPP's claims. WPP opposed the stay, but the
                 7 stay was nonetheless granted by the state court judge.
                 8 194. The stay of the state court action remains in place to the present day and,
                 9 by its terms, will remain in place until this federal action "runs its course". Defendants
               1 0 have not answered the State Court Complaint and there has been no discovery or
               11 litigation activity other than activity relating to the stay motion and status updates to the
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~ ~ g 12 state court as to the status of
~ :i_~                                                                        this federal action.
    I- _
~ ~ ~ ~ 13 195. Counts Two, Three, Four, Five and Six of                                                  this Complaint arise out of           the
    a: - .
; ~ ~ ~ 14 same conduct, transactions, and occurrences as does Count One of                                                    this Complaint, and
~ ~ if~
    :: -l '"
~ ~ ~ ~ 15 are identical to claims set forth in the Original Federal Complaint and First Amended
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t; ~ g 16 Complaint in this action. These claims thus properly relate back to the Original Federal

               17 Complaint, which was filed on April 9, 2009.
               18 196. Counts Three, Four, and Six of                                          this Complaint are also subject to equitable
               19 tollng, as they are identical to claims that were previously pled in the State Court

               20 Complaint which was filed on April                                  23, 2010.
               21 197. Defendants have received timely notice of                                          the filing of           these claims, as a
               22 result of              having been served with the State Court Complaint as well as the Original
               23 Federal Complaint and First Amended Complaint. Defendants promptly moved against

               24 each of these three complaints.
               25 (a) The Original Federal Complaint was served on all Defendants between

               26 April 17 and April 24, 2009. Defendants moved to dismiss the Original
               27 Federal Complaint on or about July 15,2009.
               28 (b) The First Amended Complaint was served on all Defendants on or
                                                                                             36

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             1 about October 13, 2009. Defendants moved to dismiss the First
            2 Amended Complaint on or about October 30,2009.
            3 (c) The State Court Complaint was served on all Defendants between May

            4 19 and May 20,2010. Defendants moved to stay the state court action
             5 on or about June 22, 2010.
             6 198. Because Counts Thee, Four, and Six of                            this Complaint are identical to
             7 claims that were previously pled in the State Court Complaint, as well as the Original
             8 Federal Complaint and First Amended Complaint in this action, Defendants have
             9 suffered no prejudice in gathering evidence related to these claims.

            10 199. WPP has acted in good faith and with reasonable diligence in filing the
            11 claims in this Complaint. As set forth above, WPP originally filed its state law claims
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~ ~ ~ 12 together with the federal securities claims in this Court. After this Court dismissed the
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~ ~ ~ ~ 13 federal securities claims and declined to reach the state law claims, WPP pursued the
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; ~ ~ ~ 14 state law claims dilgently by promptly filing those claims in state court. WPP's efforts
~ ~ if ~
~ ~ ~ ~ 15 to move the state law claims forward were thwarted by Defendants' successful stay
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t; ~ g 16 motion in state court, which WPP opposed. Now that the dismissal of certain federal
            17 securities claims (Count One of                   this Complaint) has been reversed by the Ninth Circuit
            18 and this Court's jurisdiction has been established, the most expeditious course and most
            19 efficient use of judicial resources is to re-join the pendent state law claims into this
            20 action.
            21 200. Because there has been no answer, discovery, or other activity in the
            22 stayed state court action, there wil be no prejudice to Defendants, nor any waste of
            23 judicial resources, in re-joining the pendent state law claims in this action.
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                   1 COUNT                                                                            ONE



                2 Securities Fraud in Violation of Securities Exchange Act Section lO(b)

                3 and Rule lOb-S Promulgated Thereunder
                4 Material Omissions
                5 (Against Grouf and Waxman)
                6 201. wpp hereby realleges and incorporates by reference paragraphs 1 through
                7 200 of the Complaint as if fully set forth herein.
                8 202. WPP asserts this Count against Defendants Grouf and Waxman under
                9 Section 10(b) of                    the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. §
              10 240.10b-5, promulgated thereunder.

              11 203. The May 2007 sale of shares of Spot Runner stock to WPP constituted a
    0..
~ ~ ~ 12 sale of    securities under Exchange Act Section 10(b), 15 U.S.C. § 78j(b), and Rule 10b-
., i. ~
., ~ ~ 0 13 5, 17 C.F.R. § 240.10b-5, promulgated thereunder. The said securities sale took place
~ ~ ~ ~
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; ~ ~ ~ 14 in and affected interstate commerce.
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ryi W Cl
                                     204. As alleged in more detail, supra, in connection with that securities sale,
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t;~~ 16                  Defendants Grouf and Waxman made material omissions of fact which were intended
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              17 to and did deceive WPP into continuing to invest in the Company by concealing from
              18 WPP the fact that Grouf and Waxman were selling off their shares in large quantities.
              19 205. As set forth in further detail above, Defendants Grouf and Waxman

              20 recklessly, knowingly and/or with an intent to defraud committed material omissions of
              21 fact accompanied by a duty to disclose with the intent and effect of deceiving WPP into
              22 believing that Grouf and Waxman were not sellng their shares and causing WPP to
              23 invest further capital in the Company.
              24 206. The Founders of                                          the Company - Defendants Grouf and Waxman-
              25 committed material omissions of fact in their deliberate failure to disclose their stock
              26 sales to WPP despite duties imposed on them by § 1.2 of the ROFR and Co-Sale
              27 Agreement. There was no legally effective waiver that excused the Founders of                              their
              28 duties under that Agreement.
                                                                                                 38

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               1 207. Grouf and Waxman also committed material omissions of fact by failng to
               2 provide notice to WPP that the requirements of the ROFR and Co-Sale Agreement had
               3 been met or waived with respect to their stock sales, despite the fact that § 3.1 of
                                                                                                                                              the
               4 ROFR and Co-Sale Agreement imposes upon the Founders an obligation to provide
               5 such notice. Grouf and Waxman failed to provide such notice because such notice
               6 would have alerted WPP to the fact that the Founders were selling their stock.
               7 208. Grouf and Waxman, as Directors of Spot Runner, also committed material

               8 omissions of fact by intentionally withholding any mention of their stock sales, and the
               9 waiver of the Company's rights of first refusal with respect to such sales, from Board of
              10 Directors meetings. Grouf and Waxman, along with the other Directors, did so in
       11 violation of the duty arising from the relationship of trust and confidence formed among
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~ ~ ~ 12 WPP, Spot Runner, and its Directors pursuant to the Board Observer Rights Agreement.
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~ ~ ~ ~ 13 Grouf and Waxman committed these omissions for the purpose of concealing from
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; ~ ~ ~ 14 WPP the existence and magnitude of the sales of stock by Defendants so that WPP
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~ ~ ~ ~ 15 would continue investing in and supporting the Company.
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t; ~ g 16 209. In purchasing an additional 383,111 shares of Spot Runner stock in May

              17 2007, WPP reasonably relied on Grouf and Waxman's material omissions. Grouf and
              18 Waxman's omissions led WPP to reasonably believe that they were not sellng their
              19 shares of              the Company. WPP would not have acquired the additional Company stock
              20 had it known of those sales.
              21 210. The purpose, effect and result of                                                      Grouf   and Waxman's violations of
              22 Section 10(b) of                     the Securities Exchange Act of 1934 and SEC Rule 10b-5 promulgated
              23 thereunder was to induce WPP to purchase Spot Runner stock in May 2007, something

              24 WPP would not have done had it known of Grouf and Waxman's sales.
              25 211. WPP reasonably relied on the fact that it had contractual arrangements in
              26 place to provide notice of                             the Founders' stock sales, including the ROFR and Co-Sale
              27 Agreement and the Board Observer Rights Agreement, and the fact that WPP's inquiry
              28 to Huie required the disclosure of such sales. The material omissions of fact
                                                                                                        39

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              1 deliberately circumvented all of these vehicles that should have provided WPP notice of
              2 the Founders' stock sales.

              3 212. By deliberately committing material omissions of                                         fact to deceive WPP,
              4 Groufand Waxman have engaged in acts of                                  fraud and deceit in connection with the sale
              5 of Spot Runner shares to WPP.

              6 213. As set forth in further detail above, as a direct and proximate result of
              7 Grouf and Waxman's material omissions, WPP purchased worthless securities in a
              8 company that (i) was a vehicle for Defendants' pump-and-dump scheme for quick
              9 personal profit; and (ii) had no liquid market for its shares. The over $1.7 milion that
             10 WPP paid to purchase additional Spot Runner shares in May 2007 was lost to
             11 Defendants' fraudulent scheme.
   0..
~ ~ g 12                         214. As a direct and proximate result of                      Grouf   and Waxman's material
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   woo               omissions, WPP has suffered substantial damages in an amount to be determined at
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.. ~., Õ             trial, but not less than $1.7 millon, the purchase price for WPP's purchase of additional
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                     shares as a result of Defendants' fraudulent conduct.
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t;~~ 16                                                                                       TWO
   N ..                                                                          COUNT



             17 Common Law Fraud
             18 (Against Grouf and Waxman)
             19 215. WPP hereby realleges and incorporates by reference paragraphs 1 through
             20 214 of            the Complaint as iffully set forth herein.
             21 216. As set forth in further detail above, Grouf and Waxman with an intent to
             22 defraud committed material omissions of fact with the intent and effect of deceiving
             23 WPP into believing that Grouf and Waxman were not sellng their shares and causing
             24 WPP to invest further capital in the Company.
             25 217. Grouf and Waxman had a duty to disclose to WPP, which they violated by
             26 the omissions alleged herein.
             27 218. Grouf and Waxman committed material omissions of fact in their
             28 deliberate failure to disclose their stock sales to WPP despite duties imposed on them
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               1 by § 1.2 of the ROFR and Co-Sale Agreement. There was no legally effective waiver
               2 that excused Grouf and Waxman of their duties under that Agreement.
               3 219. Grouf and Waxman also committed material omissions of fact by failing to
               4 provide notice to WPP that the requirements of the ROFR and Co-Sale Agreement had
               5 been met or waived with respect to their stock sales, despite the fact that § 3.1 of the
               6 ROFR and Co-Sale Agreement imposes upon Grouf and Waxman an obligation to
               7 provide such notice. Grouf and Waxman failed to provide such notice because such
               8 notice would have alerted WPP to the fact that Grouf and Waxman were sellng their
               9 stock.

             10 220. Grouf and Waxman, as Directors of Spot Runner, also committed material

             11 omissions of fact by intentionally withholding any mention of their stock sales, and the
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~ ~ ~ 12 waiver of                       the Company's rights of                         first refusal with respect to such sales, from Board of
., i. ~
~ ~ ~ ~ 13 Directors meetings. Grouf and Waxman, along with the other Directors, did so in
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; ;t ~ ~ 14 violation of                     the duty arising from the relationship of                     trust and confidence formed among
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~ ~ I ~ 15 WPP, Spot Runer, and its Directors pursuant to the Board Observer Rights Agreement.
t; ~ g 16 Grouf and Waxman committed these omissions for the purpose of concealing from

             17 WPP the existence and magnitude of the sales of stock by the Defendants so that WPP
             18 would continue investing in and supporting the Company.
              19 221. In purchasing an additional 383,111 shares of                                               Spot Runner stock in May
             20 2007, WPP justifiably relied on the false impression created by Grouf and Waxman's
             21 material omissions. The omissions led WPP to reasonably believe that Grouf and
             22 Waxman were not sellng their shares of                                         the Company. WPP would not have acquired
             23 the additional Company stock had it known of those sales.
             24 222. WPP justifiably relied on the fact that it had contractual arrangements in
             25 place to provide notice of                             the Founders' stock sales, including the ROFR and Co-Sale
             26 Agreement and the Board Observer Rights Agreement, and the fact that WPP's inquiry
             27 to Huie required the disclosure of such sales. Grouf and Waxman's material omissions
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                  1 of          fact deliberately circumvented all of                         these vehicles that should have provided WPP
                  2 notice of               their stock sales.
                  3 223. As set forth in further detail above, as a direct and proximate result of
                 4 Grouf and Waxman's fraud, WPP purchased worthless securities in a company that (i)
                  5 was a vehicle for Defendants' pump-and-dump scheme for quick personal profit; and
                  6 (ii) had no liquid market for its shares. The over $ i .7 millon that WPP paid to

                  7 purchase additional Spot Runner shares in May 2007 was lost to Defendants' fraudulent
                  8 scheme.
                 9 224. As a direct and proximate result of Grouf and Waxman's fraudulent acts,

                10 WPP has suffered substantial damages in an amount to be determined at trial, but not
                11 less than $1.7 milion, the purchase price for WPP's purchase of additional shares as a
     0..
~ ~ g 12 result of
~ =I_~                                     Grouf       and Waxman's fraudulent conduct.
     I- _
";~~o13                                                                               COUNT          THREE
~ ~ ¡r ~
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lXQ.UN                                                             Breach of Fiduciary Duty to Spot Runner
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                                                              (Derivative Suit Against Grouf, Waxman, Lee,
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     C' -l                                                         Rimer, Pittman, Battery and Index)
                17 225. As a derivative claim brought on behalf of                                              the Company, Spot Runner,
                18 Inc., WPP hereby realleges and incorporates by reference paragraphs 1 through 224 of
             19 the Complaint as if fully set forth herein.
             20 226. As members of                                         the Board of         Directors of   Spot Runner, Defendants Grouf,
             21 Waxman, Lee, Rimer, and Pittman were fiduciaries toward Spot Runner and owed Spot
             22 Runner the duty of faithfully, loyally, diligently, prudently, honestly, and carefully
             23 conducting Spot Runner's business. As fiduciaries, they were bound to act toward and
             24 deal with Spot Runner and its other stockholders with the utmost fidelity, loyalty, care
             25 and good faith.
             26 227. As a combined majority shareholder and control group of                                                  Spot Runner,
             27 having purported to use their combined 60% voting power to act together to attempt to
             28 waive Investors' rights, Defendants Battery and Index were fiduciaries toward Spot
                                                                                                  42

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                 1 Runner and owed Spot Runner the duty of                              faithfully, loyally, dilgently, prudently,
                2 honestly, and carefully conducting Spot Runner's business. As fiduciaries, they were

                3 bound to act toward and deal with Spot Runer and its other stockholders with the
                4 utmost fidelity, loyalty, care and good faith.
                5 228. Grouf, Waxman, Lee, Rimer, Pittman, Battry and Index have violated

                6 their fiduciary duties by usurping from Spot Runer the opportunity to raise capital
                7 through the sale of shares of its stock to new investors and instead taking those
                8 opportunities for themselves.

                9 229. Grouf, Waxman, Lee, Rimer, Pittman, Battery and Index have done so for

              10 self-serving, improper and bad-faith reasons, namely, a desire to profit from the sales of
       11 their secondary shares. There is no legitimate business justification for their actions.
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~ ~ ~ 12 They have acted wilfully, wantonly and with reckless disregard for the well-being of


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., ~ ~ 0 13 Spot Runner.
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lX Q. 0 (' 230. Grou, Waxman, Pittan, Battery an In ex usurpe corporate
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Z ~ ~ ~ 15 opportnities by sellng their own shares and thus benefited directly from their
~ lJ :¡
t; ~ g 16 wrongdoing and breaches of fiduciary duty.

              17 231. Lee and Rimer, as General Partners and Board representatives of                                        Battery
              18 and Index, respectively, benefited directly from their wrongdoing and breaches of
              19 fiduciary duty.
              20 232. As a direct and proximate result of                                    the actions of   Grouf, Waxman, Lee,
              21 Rimer, Pittman, Battery and Index, Spot Runner has been damaged by being deprived

              22 of significant amounts of needed capital and is moving swiftly toward insolvency.
              23 233. Because the wrongful transactions involved self-dealing and breaches of
              24 the duty of loyalty by Grouf, Waxman, Lee, Rimer, Pittman, Battery and Index,
              25 Defendants' decisions in connection with these transactions are not protected by the
              26 business judgment rule.
              27 234. To remedy the Defendants' breach of                                         fiduciary duties to Spot Runner, the
              28 Company is entitled to money damages and the imposition of a constructive trust on the
                                                                                        43

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               1 proceeds of all of the secondary sales completed by Defendants in violation of their
               2 fiduciary obligations to the Company.

               3 COUNT                                                                           FOUR



               4 Aiding and Abetting Breach of Fiduciary Duty to Spot Runner
               5 (Derivative Suit Against Battery and Index)
               6 235. WPP hereby realleges and incorporates by reference paragraphs 1 through
               7 234 of the Complaint as if fully set forth herein.
               8 236. Defendants Battery and Index knowingly participated in the breaches of

              9 fiduciary duties by Director Defendants Lee, Rimer, Grouf, and Waxman set forth in
             10 Count Three above.

             11 237. Battery and Index knowingly participated in breaches by Lee and Rimer
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~ ~ ~ 12 by, among other things, participating in the stock sales that were opportnities for the
., i. ~
~ ~ ~ ~ 13 Company to raise needed capitaL. Battery and Index enabled Lee and Rimer,
   a: - ,
~ ~ ~ ~ 14 respectively, to engage in self-dealing and usurpation of corporate opportunities in that
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Z ~ ~ ~ 15 such opportunities were diverted to Battery and Index, of which Lee and Rimer,
~ t! :¡
t; ~ g 16 respectively, were General Partners and Board representatives.


            17 238. Battery and Index knowingly participated in breaches by Founders Grouf

            18 and Waxman by, among other things, conspiring with Grouf and Waxman to purport to
            19 waive WPP's rights to receive notice of                              Grouf          and Waxman's Spring 2007 Sales
            20 pursuant to the ROFR and Co-Sale Agreement, and concealing Grouf and Waxman's

            21 Spring 2007 Sales, in return for being permitted to participate in the Spring 2007 Sales
            22 and thus sell off millons of dollars of their own stock.
            23 239. As a direct and proximate result of                                                 the breaches that Battery and Index
            24 aided and abetted, Spot Runner has been damaged by being deprived of significant
            25 amounts of capital and is moving swiftly toward insolvency.
            26 240. To remedy Battery and Index's aiding and abetting of
                                                                                                                          breaches of   fiduciary
            27 duties to Spot Runner, the Company is entitled to money damages and the imposition of
            28 a constructive trust on the proceeds of all of the secondary sales
                                                                                                                        completed by
                                                                                            44

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              1 Defendants in violation of                             their fiduciary obligations to the Company.
              2 COUNT                                                                             FIVE



              3 Breach of Fiduciary Duty to WPP
              4 (Against Grouf, Waxman, Lee, Rimer, Pittman, Battery and Index)

              5 241. WPP hereby realleges and incorporates by reference paragraphs 1 through
              6 240 of the Complaint as if fully set forth herein.
              7 242. As members of                                         the Board of   Directors of   Spot Runner, Defendants Grouf,
              8 Waxman, Lee, Rimer, and Pittman were fiduciaries toward WPP as a minority
              9 shareholder and owed a duty to act toward and deal with WPP faithfully, loyally,
             10 honestly, and in good faith.
             11 243. As a combined majority shareholder and control group of Spot Runner,
    0..
~ ~ ~ 12 having purported to use their combined 60% voting power to act together to attempt to
., i.:=
., .~ ~ g 13 waive Investors' rights, Defendants Battery and Index were fiduciaries toward minority
~ ~!: ai
; ~ ~ ~ 14   shareholder WPP and owed a duty to act toward and deal with WPP faithfully, loyally,
~ ~ ~ !: 15 honestly, and in good faith.
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t; ~ g 16 244. Grouf, Waxman, Lee, Rimer, Pittman, Battry and Index have violated

             17 their fiduciary duties to WPP by failing to deal honestly and in good faith withWPP
             18 and engaging in a scheme to conceal from WPP the material fact of                                    the Founders' and
             19 other Defendants' stock sales, and to deprive WPP of its notice rights under the ROFR
             20 and Co-Sale Agreement and the Board Observer Rights Agreement.

             21 245. Grouf, Waxman, Lee, Rimer, Pittman, Battery and Index have done so for

             22 self-serving, improper and bad-faith reasons, namely, a desire to profit from the sales of
             23 their secondary shares of                            the Company to new investors. There is no legitimate
             24 business justification for their actions. They have acted dishonestly and in bad faith
             25 towards WPP and with reckless disregard for the interests of WPP as a minority
             26 shareholder.
             27 246. As a direct and proximate result of the Defendants' actions, WPP has been

             28 damaged in an amount to be determined at trial, but no less than $11.7 millon.
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           1 COUNT                                              six




           2 Breach of Contract
           3 for Breach of the ROFR and Co-Sale Agreement
           4 (Against Grouf and Waxman)
           5 247. WPP hereby realleges and incorporates by reference paragraphs 1 through
           6 246 of the Complaint as if fully set forth herein.
           7 248. The ROFR and Co-Sale Agreement is a binding and valid contract between
            8 Grouf, Waxman, Spot Runner and the Investors in Spot Runner, including Battery,
            9 Index, and WPP.

           10 249. WPP has fulfilled all of its obligations under this Agreement.
           11 250. Groufand Waxman breached the ROFR and Co-Sale Agreement, and the
  0..
~ ~ ~ 12 covenant of good faith and fair dealing implied therein, by, among other things, (i)
., i. ~
., ~ ~ 0 13 failing to provide notice to WPP of Grouf and Waxman's stock sales pursuant to § 1.2
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lX  Q.õUNO t e greement; and (ii) failng to provide notice to WPP pursuant to § 3.1 of the
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~ ~ ~ ~ 15 ROFR and Co-Sale Agreement that the requirements of that Agreement had been met
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t; ~ g 16 or waived with respect to the Founders' stock sales.

           17 251. There was no legally effective waiver ofWPP's rights that would relieve
           18 the Founders of   these duties of disclosure under the Agreement.
           19 252. By virtue of the breaches of the ROFR and Co-Sale Agreement, WPP has

           20 been damaged in an amount to be determined at the time of trial, but no less than $11.7
           21 milion.
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              1 WHEREFORE, Plaintiff WPP Luxembourg Gamma Three Sarl requests
              2 judgment as follows:
              3 A. On Counts One and Two, awarding WPP damages in an amount to be

              4 determined at trial, but no less than $1.7 milion;
              5          B.     On Counts Three and Four, awarding damages derivatively on behalf of
              6 Spot Runner in an amount to be determined at trial, and imposing a constructive trust on
              7 all proceeds from Defendants' improper sales of their shares of Spot Runner stock;
              8          C.     On Counts Five and Six, awarding WPP damages in an amount to be
              9 determined at trial, but no less than $11.7 million;
            10 D. Awarding attorneys' fees to the extent authorized by contract or statute;
            11     and
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~ ..
  ~ mg 12                E. Granting such other and further relief as the Court deems just and proper,
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   woo             together with the costs and disbursements of this action.
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ryi w Cl
            - 15   Dated: March 30, 2012
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                                                                DA ViS & GILBERT LLP
            17                                                  PAUL F. CORCORAN
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                                                                VENABLELLP
            19                                                  BEN D. WHITWELL
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                                                          By A- ¡Vg;
                                                             Ben D. Whitwell
            23                                               Attorneys for Plaintiff
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               1 DEMAND FOR JURY TRIAL
              2 Plaintiff WPP Luxembourg Gamma Three SarI demands a trial by jury as to all
               3 issues so triable.
               4

              . 5 Dated: March 30,2012

               6
                                                            DAVIS & GILBERT LLP
               7                                            PAULF. CORCORAN
               8
                                                            VENABLELLP
               9                                            BEN D. WHITWELL
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